    Case 2:10-md-02179-CJB-DPC Document 1063-1 Filed 01/25/11 Page 1 of 2




                 MDL 2179 Transfer Order and Conditional Transfer Order Status

Order Number          Date Issued      Number of         Status of Order      Notes
                                       Cases Included

1                     8/24/10          26 cases          Became final on      Includes cases
                                       conditionally     9/8/10               from N. Cal., S.
                                       transferred                            Fla., N. Ga., S.
                                                                              Ga., E. Ky., W.
                                                                              Ky, , M. La., W.
                                                                              La, E. Tenn., M.
                                                                              Tenn., and E.
                                                                              Va.

2                     8/31/10          45 cases          Order became         Includes cases
                                       conditionally     final as to 44       from M. Fla., N.
                                       transferred       cases on             Fla., S. Fla., E.
                                                         September 14,        Tex., S. Tex.,
                                                         2010. Order          and E. Va.
                                                         final as to 1 case
                                                         on 11/30/2010.

3                     9/2/10           33 cases          Order became         Includes cases
                                       conditionally     final as to 31       from S. Tex.
                                       transferred       cases on
                                                         September 16,
                                                         2010. Order
                                                         became final as
                                                         to 2 cases on
                                                         11/30/2010.

4                     9/8/10           38 cases          Became final on      Includes cases
                                       conditionally     9/22/2010            from M. Ala., S.
                                       transferred                            Ala., S. Miss., D.
                                                                              S.C., and E. Tex.

5                     10/27/10         58 cases          Seven objections     Includes cases
                                       conditionally     were filed,          from M. Ala., S.
                                       transferred       staying the order    Ala., Del., N.
                                                         as to those cases.   Fla., S. Fla., S.
                                                         Order became         Ind., W. La., S.
                                                         final as to all      Miss., S. Tex.,
                                                         remaining cases      W. Tex. and E.
                                                         on November 4,       Va.
                                                         2010.



K&E 18291322.1
    Case 2:10-md-02179-CJB-DPC Document 1063-1 Filed 01/25/11 Page 2 of 2




6                11/10/10      4 cases         One objection        Includes cases
                               conditionally   was filed,           from N. Fla., S.
                               transferred     staying the order    Fla. and S. Tex.
                                               as to that case.
                                               Order became
                                               final as to all
                                               remaining cases
                                               on November 17,
                                               2010.

7                11/30/10      7 cases         One case             Includes cases
                               conditionally   voluntarily          from N. Fla., W.
                               transferred     dismissed before     La., N. Miss. and
                                               CTO became           S. Tex.
                                               final and
                                               therefore not
                                               transferred. Two
                                               objections were
                                               filed, staying the
                                               order as to those
                                               cases. Order
                                               became final as
                                               to all remaining
                                               cases on
                                               December 8,
                                               2010.

8                12/21/10      1 case          Defendants/        S.D. Ala.
                               conditionally   Third Party
                               transferred     Plaintiffs have
                                               filed an objection
                                               to the Order.

9                1/20/11       4 cases         Objections are       S.D. Tex.
                               conditionally   due 1/27/11.
                               transferred     Order will
                                               become final that
                                               date as to all
                                               cases for which
                                               no objection is
                                               filed.




                                       2
K&E 18291322.1
